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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION


MAXELL, LTD.,

                            Plaintiff,                      Civil Action No. ___________
v.
                                                            COMPLAINT AND DEMAND
APPLE INC.,                                                 FOR JURY TRIAL

                            Defendant.



                        COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Maxell, Ltd. (“Maxell”), by and through its undersigned counsel, files this

complaint under 35 U.S.C. § 271 for Patent Infringement against Defendant Apple Inc.

(“Apple”) and further alleges as follows, upon actual knowledge with respect to itself and its

own acts, and upon information and belief as to all other matters.

                                           OVERVIEW

        1.        This is an action for patent infringement by Maxell. Founded in 1961 as Maxell

Electric Industrial Co., Ltd., Maxell is a leading global manufacturer of information storage

media products, including magnetic tapes, optical discs, and battery products such as lithium ion

rechargeable micro batteries and alkaline dry batteries, and the company has over 50 years of

experience producing industry-leading recordable media and energy products for both the

consumer and the professional markets. Maxell is also a leading manufacturer of projectors and

lenses and additionally sells various other devices, such as Bluetooth headsets, wireless charging

solutions, etc.




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       2.      Maxell has built up an international reputation for excellence and reliability, for

pioneering the power supplies and digital recording for today’s mobile and multi-media devices,

and leading the electronics industry in the fields of storage media and batteries.

       3.      Since being one of the first companies to develop alkaline batteries and Blu Ray

camcorder discs, Maxell has always assured its customers of industry leading product innovation

and is one of the world’s foremost suppliers of memory, power, audio, and visual goods.

       4.      As more fully described below, in 2009 Hitachi, Ltd. assigned much of its

intellectual property to Hitachi Consumer Electronics Co., Ltd., along with a significant portion

of its Consumer Business Group, including manufacturing and research and development

capabilities. Then, in 2013, Hitachi Consumer Electronics Co., Ltd. assigned the intellectual

property, including many of the patents in this case, along with the related manufacturing and

research and development capabilities, to Hitachi Maxell, Ltd., which later assigned the assets to

Maxell as a result of a reorganization and name change.           This was an effort to align the

intellectual property with the licensing, business development, research and development, and

manufacturing efforts of Maxell, including in the mobile and mobile-media device market.

Maxell continues to sell products in the mobile device market including wireless charging

solutions, wireless flash drives, multimedia players, storage devices, and headphones. Maxell

also maintains intellectual property related to televisions, computer products, tablets, digital

cameras, and mobile phones. As a mobile technology developer and industry leader, and due to

its historical and continuous investment in research and development, including in this District,

Maxell owns a portfolio of patents related to such technologies and actively enforces its patents

through licensing and/or litigation. Maxell is forced to bring this action against Apple as a result

of Apple’s knowing and ongoing infringement of Maxell’s patents as further described herein.



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       5.      Since at least June 2013, Apple has been aware of Maxell’s patents and has had

numerous meetings and interactions regarding its infringement of these patents. These meetings

included Apple’s representatives being provided with detailed information regarding Maxell’s

patents, the developed technology, and Apple’s ongoing use of this patented technology.

Through this process, Apple’s representatives requested and received detailed explanations

regarding Maxell’s patents and allegations. Maxell believed that the parties could reach a

mutually beneficial solution and to that end considered a potential business transaction and

continued to answer multiple inquiries from Apple over the course of several years, including

communicating with Apple as recently as late 2018. Apple elected, however, not to enter into an

agreement and did not license Maxell’s patents. Instead, Apple continued, and continues today,

to make, use, sell and offer for sale Maxell’s patented technology without license.

       6.      Since 2014, Maxell has had regular and continuous business in the Eastern

District of Texas. As a result of such business dealings and hopes to expand those and other

business dealings, a Maxell affiliate, Maxell Research and Development America, LLC

(“MRDA”), was founded in Marshall, Texas. Maxell and MRDA have and continue to regularly

meet and work to expand the research and development activities, business, and investments

being made by Maxell, MRDA, and their business partners in this District to further the goals of

these companies.

                                           PARTIES

       7.      Plaintiff Maxell, Ltd. is a Japanese corporation with a registered place of business

at 1 Koizumi, Oyamazaki, Oyamazaki-cho, Otokuni-gun, Kyoto, Japan.

       8.      On information and belief, Defendant Apple Inc. is a California corporation

having a principal place of business located at One Apple Park Way Cupertino, California 95014



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and regular and established places of business at 2601 Preston Road, Frisco, Texas, and 6121

West Park Boulevard, Plano, Texas, as well as other locations in Texas. Apple offers and sells its

products and/or services, including those accused herein of infringement, to customers and

potential customers located in Texas, including in the judicial Eastern District of Texas. Apple

may be served with process through its registered agent for service in Texas: CT Corporation

System, 1999 Bryant Street, Suite 900, Dallas, Texas 75201.

                 NATURE OF THE ACTION, JURISDICTION, AND VENUE

       9.        Maxell brings this action for patent infringement under the patent laws of the

United States, 35 U.S.C. § 271 et seq.

       10.       This Court has subject matter jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a) because the action arises under the patent laws of the

United States.

       11.       This Court has personal jurisdiction over Apple. Apple conducts business and has

committed acts of direct and indirect patent infringement in this District, the State of Texas, and

elsewhere in the United States. Moreover, Apple is registered to do business in the State of

Texas, has offices and facilities in the State of Texas and this District, and actively directs its

activities to customers located in the State of Texas and this District.

       12.       Venue is proper in this District pursuant to 28 U.S.C. § 1400(b). Apple has

regular and established places of business in this District, including Apple Stores located at 2601

Preston Road, Frisco, Texas and 6121 West Park Boulevard, Plano, Texas, is deemed to reside in

this District, has committed acts of infringement described herein in this District, and has

purposely transacted business involving the accused devices in this District.




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       13.     Six of the patents accused of infringement herein, including U.S. Patent Nos.

6,748,317; 8,339,493; 7,116,438; 6,408,193; 6,928,306; and 6,329,794, were previously asserted

in this District against Huawei Device Co., Ltd., Huawei Device USA, Inc., ZTE (USA), Inc.,

ZTE Corporation, and/or ASUSTeK Computer Inc. Further, U.S. Patent Nos. 6,580,999 and

6,430,498 are the parents of the previously asserted U.S. Patent No. 6,748,317 and include

similar subject matter as the one the Court is familiar with. During the course of these lawsuits,

this Court heard from the parties and their experts regarding the technology at issue in these

patents, construed numerous claim terms, and even conducted a jury trial, during which all

patents were found to be valid and willfully infringed. Accordingly, this Court has substantial

knowledge of and concerning the majority of the patents asserted in this lawsuit. Judicial

economy further supports venue in this District.

              COUNT 1 - INFRINGEMENT OF U.S. PATENT NO. 6,748,317

       14.     Maxell incorporates paragraphs 1-13 above by reference.

       15.     U.S. Patent No. 6,748,317 (the “’317 Patent,” attached hereto at Exhibit 1) duly

issued on June 8, 2004 and is entitled Portable terminal with the function of walking navigation.

       16.     Maxell is the owner by assignment of the ’317 Patent and possesses all rights

under the ’317 Patent, including the exclusive right to recover for past and future infringement.

       17.     Eight years before Apple released its first GPS-enabled iPhone and five years

before Google launched its first Maps product, the inventors of the ’317 Patent were

experimenting with ways to deliver navigation services to the small sized screens of cellular

phones that were available in 1999. At the time of the priority date of the ’317 Patent, even the

Internet hosted map applications were geared to stationary desktop computers, not to mobile

phones. The inventors of the ’317 Patent recognized the benefits of delivering mapping services



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to mobile phones and of supplementing those services with real-time location information from

the phones themselves. ’317 Patent, 1:10-30. The inventors were interested in specifically

improving mapping services on small screen phones within the narrow field of walking

navigation. Id. at 1:31-43. The inventors recognized that simply providing a map on the phone

was not enough because the small, text-based displays of the phones were ill-equipped to display

full maps or to enable meaningful user interactions. Id. at 2:17-36. The inventors also recognized

that there was a need to provide a solution that did not require the enormous amount of cost

required to download maps in real-time from a server linked to a computer network and to

process this map information in a format that is readable on the small screens of the phones. Id.

at 1:53-2:4. The inventors also recognized that a car navigation system from that time frame also

did not provide a useful solution because it could not be used by a pedestrian to guide his/her

walk due to the size and the lack of preciseness required to provide accurate route information to

a pedestrian. Id. at 1:31-43.

       18.     It is against this backdrop that the inventors of the ’317 Patent set about to solve

the problem arising specifically in the realm of computer networks that—at that time—lacked

the ability to provide accurate and precise route guidance information to pedestrians in a device

that would be portable and that would not require the cost of constantly downloading maps and

processing this data over a computer network in real-time. Id. at 2:51-61.

       19.     In order to solve this problem of computer, the inventors disclose a portable

device with a particular combination of hardware components tailored for delivering mobile

mapping services. The device includes a “[c]ellular antenna and … an infrared ray sensor” such

as a “GSP [sic], PHS, or the like,” with which it can obtain “location information.” Id. at 5:66-

6:2. The specification discloses that “location information” is “a latitude/longitude or coordinates



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and an altitude.” Id. at 5:62-64. Moreover, the device includes “a compass, a gyro, and such a

sensor as a clinometer,” with which it can obtain “direction information.” Id. at 6:2-12. The

specification discloses that “direction information” is “the direction of the tip of the [device] or

the orientation of the display screen.” Id. The ’317 Patent thus discloses a portable device with a

specific combination of hardware that has a particular set of capabilities and in order to ensure

that they did not preempt the concept of simply including a map on a computer, the inventors

claimed a combination of “devices” within a “portable terminal with the function of walking

navigation.” See e.g., id. at 10:42-57 (claim 1). Further, each of the claimed “devices” recites a

specific function that as a whole solve the problem of the prior art devices that could not provide

accurate and precise navigation information to pedestrians. Id.

       20.     For example, claim 1 recites at least “a device for getting location information,”

“a device for getting direction information denoting an orientation,” “an input device for

inputting a destination,” and “a display” wherein the display specifically provides the claimed

functionality of displaying positions of a “destination and a present place, and a relation of said

direction and a direction from said present place to said destination.” Id. Further, the display

also specifically provides the claimed functionality of changing the display “according to a

change of said direction of said portable terminal orientation for walking navigation,” thus

ensuring that the portable terminal can guide the pedestrian accurately in real-time in response

to, for example, the pedestrian changing the direction he/she is walking. Independent claims 6

and 10 also recite similar combinations of hardware and also recite additional narrowing features

(e.g., “a device connected to a server”).      Id. at 11:6-21 and 11:34-51. Similarly, at least

dependent claims 2, 3, 5, 7, and 11 also provide additional narrowing features limiting the claims




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to specific improvements in the field providing navigation information on portable terminals.

See id. at 10:58-64, 11:3-5, 11:21-22, and 12:1-4.

       21.     When considered as a whole the combination of hardware recited in the claims of

the ’317 Patent is directed to a specific novel and non-obvious portable terminal that includes

specific functionality of providing guidance for walking navigation. Indeed, a jury in this

jurisdiction made a determination that when considered as a whole, at least claims 1-3 of the

’317 Patent are directed to a novel device and are not invalid over prior art.

       22.     Further, the patentability of the ’317 Patent was challenged in IPR2018-00235,

wherein the Patent Trial and Appeal Board was asked to consider the teachings of prior art (e.g.,

U.S. Patent Nos. 5,781,150, 5,173,709, and 5,592,382, and Japanese Patent Application

Publication No. H10-232992) in a challenge to the validity of claims 1-3, 6-8, 10, 15-17, and 20.

In response, the Patent Trial and Appeal Board denied the petition, finding that the information

presented does not “demonstrate a reasonable likelihood that Petitioner would prevail in showing

that at least one of the challenged claims of the ’317 Patent is unpatentable.”

       23.     Apple has directly infringed one or more claims of the ’317 Patent in this District

and elsewhere in Texas, including at least claims 1-3, 5-7, and 10-11 literally and/or under the

doctrine of equivalents, by or through making, using, importing, offering for sale and/or selling

its telecommunications technology, including by way of example a product known as the iPhone

XS.

       24.     The iPhone XS includes a screen for displaying information, at least a GPS

chipset/cellular chipset/Wi-Fi chipset/iBeacon/compass/gyroscope for providing location and/or

orientation information, “Maps” and “Find My Friends” software that allows users to access

location information including the present location of the device and orientation of the device



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and use such information to provide walking navigation information and/or share location. The

iPhone XS further uses location servers to provide walking navigation information, route

information, and/or to provide its position to additional devices in order to allow users to walk to

a particular shared location. For example, the following excerpts from Apple’s websites provide

non-limiting examples of the iPhone XS infringing at least claims 1-3, 5-7, and 10-11 of the ’317

Patent:




                         See https://support.apple.com/en-us/HT201493




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                             See https://www.apple.com/ios/maps/

       25.    The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

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infringement by satisfying every element of at least claims 1-3, 5-7, and 10-11 of the ’317

Patent, under 35 U.S.C. § 271(a).

       26.    On information and belief, Apple further infringes the ’317 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’317 Accused Products”). The ’317 Accused

Products include all iOS devices including “Maps” and/or “Find My Friends” applications, for

example, Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS Max (model no.

A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and A1901), iPhone 8

Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and A1905), iPhone 7 Plus

(model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and A1778), iPhone 6s Plus

(model nos. A1634 andA1687), iPhone 6s (model nos. A1633 and A1688), iPhone 6 Plus (model

nos. A1522 and A1524), iPhone 6 (model nos. A1549 and A1586), iPhone SE (model nos.

A1723 and A1662), iPhone 5s (model nos. A1453 and A1533), and iPhone 5c (model nos.

A1456 and A1532)) and Apple iPads with cellular functionality and/or Apple iPads with Wi-Fi

and Indoor Maps (e.g., iPad Air (model nos. A1474 and A1475), iPad mini 2 (model nos. A1489

and A1490), iPad Air 2 (model nos. A1566 and A1567), iPad mini 3 (model nos. A1599 and

A1600), iPad mini 4 (model nos. A1538 and A1550), iPad Pro (10.5”) (model nos. A1701 and

A1709), iPad Pro (12.9”) (model nos. A1584 and A1652), iPad Pro (9.7”) (model nos. A1673,

A1674, and A1675), iPad Pro (11”) (model nos. A1980 and A2013), iPad (5th generation) (model

nos. A1822 and A1823), iPad (6th generation) (model nos. A1893 and A1954), iPad Pro (12.9”

2nd generation) (model nos. A1670 and A1671), and iPad Pro (12.9” 3rd generation) (model nos.

A1876, A2014, and A1895)). For example, each of these products also include a “Maps”

application, a “Find My Friends” application, and/or “Location” services as advertised on



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Apple’s website. Maxell reserves the right to discover and pursue any additional infringing

devices that incorporate infringing functionalities. For the avoidance of doubt, the ’317 Accused

Products are identified to describe Apple’s infringement and in no way limit the discovery and

infringement allegations against Apple concerning other devices that incorporate the same or

reasonably similar functionalities.

         27.   Apple has indirectly infringed at least claims 1-3, 5-7, and 10-11 of the ’317

Patent in this District and elsewhere in the United States by, among other things, actively

inducing the use, offering for sale, selling, or importation of at least the ’317 Accused Products.

Apple’s customers who purchase devices and components thereof and operate such devices and

components in accordance with Apple’s instructions directly infringe one or more claims of the

’317 Patent in violation of 35 U.S.C. § 271. Apple instructs its customers through at least user

guides or websites, such as those located at: https://support.apple.com/en_US/manuals or

https://www.apple.com/ios/maps/. Apple is thereby liable for infringement of the ’317 Patent

pursuant to 35 U.S.C. § 271(b).

         28.   Apple has indirectly infringed at least claims 1-3, 5-7, and 10-11 of the ’317

Patent, by, among other things, contributing to the direct infringement of others, including

customers of the ’317 Accused Products by making, offering to sell, or selling, in the United

States, or importing a component of a patented machine, manufacture, or combination, or an

apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in infringement of the ’317

Patent, and not a staple article or commodity of commerce suitable for substantial non-infringing

use.




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       29.     For example, the ’317 Accused Products include hardware (e.g., GPS chip,

cellular chip, Wi-Fi chip, gyroscope, compass, A12 processor) and/or software (e.g., “Maps” or

“Find My Friends”). These are components of a patented machine, manufacture, or combination,

or an apparatus for use in practicing a patented process. Furthermore, such components are a

material part of the invention and upon information and belief are not a staple article or

commodity of commerce suitable for substantial non-infringing use. Thus, Apple is liable for

infringement of the ’317 Patent pursuant to 35 U.S.C. § 271(c).

       30.     Apple has been on notice of the ’317 Patent since, at least, June 25, 2013. By the

time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

1-3, 5-7, and 10-11 of the ’317 Patent.

       31.     Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’317 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least June 25, 2013, Apple has been aware

of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’317 Patent, and that the ’317 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’317 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’317 Patent.

       32.     Maxell has been damaged by Apple’s infringement of the ’317 Patent.

              COUNT 2 - INFRINGEMENT OF U.S. PATENT NO. 6,580,999



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        33.    Maxell incorporates paragraphs 1-32 above by reference.

        34.    U.S. Patent No. 6,580,999 (the “’999 Patent,” attached hereto at Exhibit 2) duly

issued on June 17, 2003 and is entitled Portable terminal with the function of walking

navigation.

        35.    Maxell is the owner by assignment of the ’999 Patent and possesses all rights

under the ’999 Patent, including the exclusive right to recover for past and future infringement.

        36.    The ’999 Patent is the parent of the ’317 Patent, and like claims of the ’317

Patent, claims of the ’999 Patent are also directed to a specific novel and non-obvious portable

terminal that includes specific functionality of providing guidance for walking navigation.

Further, claims 1-2 and 6 of the ’999 Patent even include a “device for getting the location

information of another portable terminal” (’999 Patent, 10:44-45), thus specifically claiming a

portable terminal that can receive a location from another portable terminal and providing in

real-time route guidance information to a pedestrian so that the pedestrian can walk to the

location of the other portable terminal after receiving the location.

        37.    Apple has directly infringed one or more claims of the ’999 Patent in this District

and elsewhere in Texas, including at least claims 1-2 and 6 literally and/or under the doctrine of

equivalents, by or through making, using, importing, offering for sale and/or selling its

telecommunications technology, including by way of example a product known as the iPhone

XS.

        38.    The iPhone XS includes a screen for displaying information, at least a GPS

chipset/cellular chipset/Wi-Fi chipset/iBeacon/compass/gyroscope for providing location and/or

orientation information, “Maps” and “Find My Friends” software that allows users to access

location information including the present location of the device and orientation of the device



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and use such information to provide walking navigation information and/or share location. The

iPhone XS further uses location servers to provide walking navigation information, route

information, and/or to provide its position to additional devices in order to allow users to walk to

a particular shared location. For example, the following excerpts from Apple’s websites provide

non-limiting examples of the iPhone XS infringing at least claims 1-2 and 6 of the ’999 Patent:




                         See https://support.apple.com/en-us/HT201493




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                              See https://www.apple.com/ios/maps/

       39.     The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

infringement by satisfying every element of at least claims 1-2 and 6 of the ’999 Patent, under 35

U.S.C. § 271(a).

       40.     On information and belief, Apple further infringes the ’999 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’999 Accused Products”). The ’999 Accused

Products include all iOS devices including “Maps” and/or “Find My Friends” applications, for

example, Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS Max (model no.

A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and A1901), iPhone 8

Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and A1905), iPhone 7 Plus


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(model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and A1778), iPhone 6s Plus

(model nos. A1634 andA1687), iPhone 6s (model nos. A1633 and A1688), iPhone 6 Plus (model

nos. A1522 and A1524), iPhone 6 (model nos. A1549 and A1586), iPhone SE (model nos.

A1723 and A1662), iPhone 5s (model nos. A1453 and A1533), and iPhone 5c (model nos.

A1456 and A1532)) and Apple iPads with cellular functionality and/or Apple iPads with Wi-Fi

and Indoor Maps (e.g., iPad Air (model nos. A1474 and A1475), iPad mini 2 (model nos. A1489

and A1490), iPad Air 2 (model nos. A1566 and A1567), iPad mini 3 (model nos. A1599 and

A1600), iPad mini 4 (model nos. A1538 and A1550), iPad Pro (10.5”) (model nos. A1701 and

A1709), iPad Pro (12.9”) (model nos. A1584 and A1652), iPad Pro (9.7”) (model nos. A1673,

A1674, and A1675), iPad Pro (11”) (model nos. A1980 and A2013), iPad (5th generation) (model

nos. A1822 and A1823), iPad (6th generation) (model nos. A1893 and A1954), iPad Pro (12.9”

2nd generation) (model nos. A1670 and A1671), and iPad Pro (12.9” 3rd generation) (model nos.

A1876, A2014, and A1895)). For example, each of these products also include a “Maps”

application, a “Find My Friends” application, and/or “Location” services as advertised on

Apple’s website. Maxell reserves the right to discover and pursue any additional infringing

devices that incorporate infringing functionalities. For the avoidance of doubt, the ’999 Accused

Products are identified to describe Apple’s infringement and in no way limit the discovery and

infringement allegations against Apple concerning other devices that incorporate the same or

reasonably similar functionalities.

       41.     Apple has indirectly infringed at least claims 1-2 and 6 of the ’999 Patent in this

District and elsewhere in the United States by, among other things, actively inducing the use,

offering for sale, selling, or importation of at least the ’999 Accused Products. Apple’s customers

who purchase devices and components thereof and operate such devices and components in



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accordance with Apple’s instructions directly infringe one or more claims of the ’999 Patent in

violation of 35 U.S.C. § 271. Apple instructs its customers through at least user guides or

websites,    such   as    those   located    at:        https://support.apple.com/en_US/manuals   or

https://www.apple.com/ios/maps/. Apple is thereby liable for infringement of the ’999 Patent

pursuant to 35 U.S.C. § 271(b).

       42.     Apple has indirectly infringed at least claims 1-2 and 6 of the ’999 Patent, by,

among other things, contributing to the direct infringement of others, including customers of the

’999 Accused Products by making, offering to sell, or selling, in the United States, or importing a

component of a patented machine, manufacture, or combination, or an apparatus for use in

practicing a patented process, constituting a material part of the invention, knowing the same to

be especially made or especially adapted for use in infringement of the ’999 Patent, and not a

staple article or commodity of commerce suitable for substantial non-infringing use.

       43.     For example, the ’999 Accused Products include hardware (e.g., GPS chip,

cellular chip, Wi-Fi chip, gyroscope, compass, A12 processor) and/or software (e.g., “Maps” or

“Find My Friends”). These are components of a patented machine, manufacture, or combination,

or an apparatus for use in practicing a patented process. Furthermore, such components are a

material part of the invention and upon information and belief are not a staple article or

commodity of commerce suitable for substantial non-infringing use. Thus, Apple is liable for

infringement of the ’999 Patent pursuant to 35 U.S.C. § 271(c).

       44.     Apple has been on notice of the ’999 Patent since, at least, June 25, 2013. By the

time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

1-2 and 6 of the ’999 Patent.



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       45.     Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’999 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least June 25, 2013, Apple has been aware

of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’999 Patent, and that the ’999 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’999 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’999 Patent.

       46.     Maxell has been damaged by Apple’s infringement of the ’999 Patent.

              COUNT 3 - INFRINGEMENT OF U.S. PATENT NO. 8,339,493

       47.     Maxell incorporates paragraphs 1-46 above by reference.

       48.     U.S. Patent No. 8,339,493 (the “’493 Patent,” attached hereto at Exhibit 3) duly

issued on December 25, 2012 and is entitled Electric Camera.

       49.     Maxell is the owner by assignment of the ’493 Patent and possesses all rights

under the ’493 Patent, including the exclusive right to recover for past and future infringement.

       50.     The patentability of the ’493 Patent was challenged in IPR2018-00236, wherein

the Patent Trial and Appeal Board was asked to consider the teachings of prior art (e.g., U.S.

Patent Nos. 5,493,335, 5,440,343, 5,497,192, 5,828,406, and 6,512,541) in a challenge to the

validity of claims 5-6. In response, the Patent Trial and Appeal Board denied the petition, finding

that the information presented does not “demonstrate a reasonable likelihood that Petitioner




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would prevail in showing that at least one of the challenged claims of the ’493 Patent is

unpatentable.”

        51.      Apple has directly infringed one or more claims of the ’493 Patent in this District

and elsewhere in Texas, including at least claims 5-6 literally and/or under the doctrine of

equivalents, by or through making, using, importing, offering for sale and/or selling its

telecommunications technology, including by way of example a product known as the iPhone

XS.

        52.      The iPhone XS includes front and rear-facing cameras, each of which

incorporates a light-receiving sensor or imaging sensor (e.g., CMOS sensor) with an array of

pixels arranged vertically and horizontally in a grid pattern. The iPhone XS can record an image

in a static mode, for example recording photographs and snapshots in photo camera modes, and

in a moving video mode, for example recording a video clip in video camera mode.

        53.      The iPhone XS further includes a processor (e.g., A12 chip and/or ISP) that

processes signals from one or more cameras and sensors to generate image signals for displaying

on the iPhone XS’s display, where the generated image can be manipulated in accordance with a

select pixel arrangement and/or image stabilization correction factor using a portion of the pixel

lines available. For example, the following excerpts from Apple’s websites provide non-limiting

examples of the iPhone XS infringing at least claims 5-6 of the ’493 Patent by way of

implementing a dual-camera system, CMOS sensors, and an image signal processor that arranges

an array of pixels in a grid pattern and processes the pixels for each of a static image mode (e.g.,

still pictures), monitoring mode (e.g., preview of pictures/videos), and moving video mode (e.g.,

videos):




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                   See https://www.apple.com/iphone-xs/cameras/



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       54.    The foregoing features and capabilities of the iPhone XS and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

infringement by satisfying every element of at least claims 5-6 of the ’493 Patent, under 35

U.S.C. § 271(a).

       55.    On information and belief, Apple further infringes the ’493 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’493 Accused Products”). The ’493 Accused

Products include, for example, Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS

Max (model no. A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and

A1901), iPhone 8 Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and

A1905), iPhone 7 Plus (model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and

A1778), iPhone 6s Plus (model nos. A1634 and A1687), iPhone 6s (model nos. A1633

andA1688), iPhone 6 Plus (model nos. A1522 and A1524), iPhone 6 (model nos. A1549 and

A1586), iPhone SE (model nos. A1723 and A1662), iPhone 5s (model nos. A1453 and A1533),

and iPhone 5c (model nos. A1456 and A1532)); Apple iPads (e.g., iPad Air (model nos. A1474

and A1475), iPad mini 2 (model nos. A1489 and A1490), iPad Air 2 (model nos. A1566 and

A1567), iPad mini 3 (model nos. A1599 and A1600), iPad mini 4 (model nos. A1538 and

A1550), iPad Pro (10.5”) (model nos. A1701 and A1709), iPad Pro (12.9”) (model nos. A1584

and A1652), iPad Pro (9.7”) (model nos. A1673, A1674, and A1675), iPad Pro (11”) (model nos.

A1980 and A2013), iPad (5th generation) (model nos. A1822 and A1823), iPad (6th generation)

(model nos. A1893 and A1954), iPad Pro (12.9” 2nd generation) (model nos. A1670 and

A1671), and iPad Pro (12.9” 3rd generation) (model nos. A1876, A2014, and A1895)); and Apple

iPod Touches (e.g., iPod Touch 5th generation (model nos. A1509 and A1421) and iPod Touch



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6th generation (model no. A1574)). For example, each of these products also include one or more

cameras, image sensors (e.g., CMOS), and/or image stabilization techniques as advertised on

Apple’s website. Maxell reserves the right to discover and pursue any additional infringing

devices that incorporate infringing functionalities. For the avoidance of doubt, the ’493 Accused

Products are identified to describe Apple’s infringement and in no way limit the discovery and

infringement allegations against Apple concerning other devices that incorporate the same or

reasonably similar functionalities.

       56.     Apple has indirectly infringed at least claims 5-6 of the ’493 Patent in this District

and elsewhere in the United States by, among other things, actively inducing the use, offering for

sale, selling, or importation of at least the ’493 Accused Products. Apple’s customers who

purchase devices and components thereof and operate such devices and components in

accordance with Apple’s instructions directly infringe one or more claims of the ’493 Patent in

violation of 35 U.S.C. § 271. Apple instructs its customers through at least user guides or

websites,    such   as    those       located   at:        https://support.apple.com/en_US/manuals   or

https://www.apple.com/iphone-xs/cameras/ or https://www.apple.com/iphone/#dual-cameras or

https://www.apple.com/iphone-xs/cameras. Apple is thereby liable for infringement of the ’493

Patent pursuant to 35 U.S.C. § 271(b).

       57.     Apple has indirectly infringed at least claims 5-6 of the ’493 Patent, by, among

other things, contributing to the direct infringement of others, including customers of the ’493

Accused Products by making, offering to sell, or selling, in the United States, or importing a

component of a patented machine, manufacture, or combination, or an apparatus for use in

practicing a patented process, constituting a material part of the invention, knowing the same to




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be especially made or especially adapted for use in infringement of the ’493 Patent, and not a

staple article or commodity of commerce suitable for substantial non-infringing use.

       58.     For example, the ’493 Accused Products include sensors in front and rear-facing

cameras with an array of pixels arranged vertically and horizontally in a grid pattern. These are

components of a patented machine, manufacture, or combination, or an apparatus for use in

practicing a patented process. Furthermore, such components are a material part of the invention

and upon information and belief are not a staple article or commodity of commerce suitable for

substantial non-infringing use. Thus, Apple is liable for infringement of the ’493 Patent pursuant

to 35 U.S.C. § 271(c).

       59.     Apple has been on notice of the ’493 Patent since, at least, June 25, 2013. By the

time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

5-6 of the ’493 Patent.

       60.     Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’493 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least June 25, 2013, Apple has been aware

of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’493 Patent, and that the ’493 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’493 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’493 Patent.



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        61.    Maxell has been damaged by Apple’s infringement of the ’493 Patent.

              COUNT 4 - INFRINGEMENT OF U.S. PATENT NO. 7,116,438

        62.    Maxell incorporates paragraphs 1-61 above by reference.

        63.    U.S. Patent No. 7,116,438 (the “’438 Patent,” attached hereto at Exhibit 4) duly

issued on October 3, 2006 and is entitled Terminal for information processing.

        64.    Maxell is the owner by assignment of the ’438 Patent and possesses all rights

under the ’438 Patent, including the exclusive right to recover for past and future infringement.

        65.    Apple has directly infringed one or more claims of the ’438 Patent in this District

and elsewhere in Texas, including at least claims 1-3 literally and/or under the doctrine of

equivalents, by or through making, using, importing, offering for sale and/or selling its

telecommunications technology, including by way of example a product known as the iPhone

XS.

        66.    The iPhone XS includes an input unit (such as the device’s touch screen) for

receiving input from a user in the form of hand gestures, screen touches, etc. Further, the iPhone

XS includes a first short-distance communication unit (e.g., Bluetooth, NFC chipset, and/or Wi-

Fi) for carrying out a short-distance communication with a display apparatus. The iPhone XS

also includes a second communication unit (e.g., Bluetooth, Wi-Fi, and/or cellular network) for

carrying out communication with a display device over a network. The iPhone XS further carries

out an authentication process (e.g., authentication via AirDrop) for determining whether to allow

usage of the display apparatus and carries out data exchange with the display apparatus if the

authentication process is confirmed. If the authentication process is not confirmed, then the

iPhone XS does not exchange data with the display apparatus. For example, the following




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excerpts from Apple’s websites provide non-limiting examples of the iPhone XS infringing at

least claims 1-3 of the ’438 Patent:




                          See https://support.apple.com/en-us/HT204144

       67.     The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

infringement by satisfying every element of at least claims 1-3 of the ’438 Patent, under 35

U.S.C. § 271(a).

       68.     On information and belief, Apple further infringes the ’438 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’438 Accused Products”). The ’438 Accused

Products include at least the Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS Max

(model no. A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and A1901),

iPhone 8 Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and A1905), iPhone

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7 Plus (model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and A1778), iPhone 6s Plus

(model nos. A1634 and A1687), iPhone 6s (model nos. A1633 andA1688), iPhone 6 Plus (model

nos. A1522 and A1524), iPhone 6 (model nos. A1549 and A1586), iPhone SE (model nos.

A1723 and A1662), iPhone 5s (model nos. A1453 and A1533), and iPhone 5c (model nos.

A1456 and A1532)); Apple iPads (e.g., iPad Air (model nos. A1474 and A1475), iPad mini 2

(model nos. A1489 and A1490), iPad Air 2 (model nos. A1566 and A1567), iPad mini 3 (model

nos. A1599 and A1600), iPad mini 4 (model nos. A1538 and A1550), iPad Pro (10.5”) (model

nos. A1701 and A1709), iPad Pro (12.9”) (model nos. A1584 and A1652), iPad Pro (9.7”)

(model nos. A1673, A1674, and A1675), iPad Pro (11”) (model nos. A1980 and A2013), iPad

(5th generation) (model nos. A1822 and A1823), iPad (6th generation) (model nos. A1893 and

A1954), iPad Pro (12.9” 2nd generation) (model nos. A1670 and A1671), and iPad Pro (12.9” 3rd

generation) (model nos. A1876, A2014, and A1895)); Apple iPod Touches (e.g., iPod Touch 5th

generation (model nos. A1509 and A1421) and iPod Touch 6th generation (model no. A1574));

Apple watches (e.g., Series 4 (model nos. A1975, A1976, A1977, and A1978), Series 3 (model

nos. A1860, A1861, A1858, and A1859), Series 2 (model nos. A1757, A1758, A1816, and

A1817), Series 1 (model nos. A1802 and A1803), and 1st Generation (model nos. A1553 and

A1554)); and Mac Products implementing AirDrop sold or offered for sale on or after February

2013 (e.g., MacBook Pro, MacBook Air, iMac, Mac mini, Mac Pro, and iMac Pro as identified at

https://support.apple.com/en-us/HT203106). For example, each of these products also include a

short distance communication unit (e.g., Bluetooth, NFC chipset, and/or Wi-Fi) and a second

communication unit (e.g., Bluetooth, Wi-Fi, and/or cellular network) for implementing AirDrop

as advertised on Apple’s website.     Maxell reserves the right to discover and pursue any

additional infringing devices that incorporate infringing functionalities. For the avoidance of



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doubt, the ’438 Accused Products are identified to describe Apple’s infringement and in no way

limit the discovery and infringement allegations against Apple concerning other devices that

incorporate the same or reasonably similar functionalities.

       69.     Apple has indirectly infringed at least claims 1-3 of the ’438 Patent in this District

and elsewhere in the United States by, among other things, actively inducing the use, offering for

sale, selling, or importation of at least the ’438 Accused Products. Apple’s customers who

purchase devices and components thereof and operate such devices and components in

accordance with Apple’s instructions directly infringe one or more claims of the ’438 Patent in

violation of 35 U.S.C. § 271. Apple instructs its customers through at least user guides or

websites,    such   as    those   located    at:        https://support.apple.com/en_US/manuals   or

https://support.apple.com/en-us/HT204144 or https://support.apple.com/en-us/HT203106. Apple

is thereby liable for infringement of the ’438 Patent pursuant to 35 U.S.C. § 271(b).

       70.     Apple has indirectly infringed at least claims 1-3 of the ’438 Patent, by, among

other things, contributing to the direct infringement of others, including customers of the ’438

Accused Products by making, offering to sell, or selling, in the United States, or importing a

component of a patented machine, manufacture, or combination, or an apparatus for use in

practicing a patented process, constituting a material part of the invention, knowing the same to

be especially made or especially adapted for use in infringement of the ’438 Patent, and not a

staple article or commodity of commerce suitable for substantial non-infringing use.

       71.     For example, the ’438 Accused Products include hardware (e.g., Bluetooth, NFC

chipset, and/or Wi-Fi) and software components (e.g., AirDrop). These are components of a

patented machine, manufacture, or combination, or an apparatus for use in practicing a patented

process. Furthermore, such components are a material part of the invention and upon information



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and belief are not a staple article or commodity of commerce suitable for substantial non-

infringing use. Thus, Apple is liable for infringement of the ’438 Patent pursuant to 35 U.S.C. §

271(c).

          72.   Apple has been on notice of the ’438 Patent since, at least, May 17, 2018. By the

time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

1-3 of the ’438 Patent.

          73.   Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’438 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least May 17, 2018, Apple has been aware

of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’438 Patent, and that the ’438 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’438 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’438 Patent.

          74.   Maxell has been damaged by Apple’s infringement of the ’438 Patent.

                COUNT 5 - INFRINGEMENT OF U.S. PATENT NO. 6,408,193

          75.   Maxell incorporates paragraphs 1-74 above by reference.

          76.   U.S. Patent No. 6,408,193 (the “’193 Patent,” attached hereto at Exhibit 5) duly

issued on June 18, 2002 and is entitled Cellular telephone.




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        77.    Maxell is the owner by assignment of the ’193 Patent and possesses all rights

under the ’193 Patent, including the exclusive right to recover for past and future infringement.

        78.    A jury in this jurisdiction has previously made a determination that when

considered as a whole, at least claim 1 of the ’193 Patent is directed to a novel and non-obvious

device and is not invalid over prior art.

        79.    Further, the patentability of the ’193 Patent was challenged in IPR2018-00237,

wherein the Patent Trial and Appeal Board was asked to consider the teachings of prior art (e.g.,

U.S. Patent Nos. 5,267,262, 5,710,981, 5,056,109, 5,548,616, 5,452,473, 5,420,536, and

3,486,128, IS-95 standard, Japanese Patent Laid-open Nos. Hei-9-46152, Hei-04-277909, and

Hei-06-252797, and “A Review and Comparison of Pulse Width Modulation (PWM) Methods for

Analog and Digital Input Switching Power Amplifier”) in a challenge to the validity of claims 1-

7. In response, the Patent Trial and Appeal Board denied the petition, finding that the

information presented does not “demonstrate a reasonable likelihood that Petitioner would

prevail in showing that at least one of the challenged claims of the ’193 Patent is unpatentable.”

        80.    Apple has directly infringed one or more claims of the ’193 Patent in this District

and elsewhere in Texas, including at least claim 1 literally and/or under the doctrine of

equivalents, by or through making, using, importing, offering for sale and/or selling its

telecommunications technology, including by way of example a product known as the iPhone

XS.

        81.    The iPhone XS is a mobile device capable of operation in numerous networks,

including CDMA. The iPhone XS includes at least one antenna for receiving first

communication signals (e.g., data signals transmitted on a downlink channel) and a transmitting




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power control signal (e.g., TPC transmitted on a downlink channel). It also transmits a second

communication signal (e.g., data on an uplink channel) to the cell-site station via the antenna.

       82.     The iPhone XS is observed to operate in FDD (Frequency Division Duplex), and

incorporates a duplexer to allow full-duplex operation while sending and receiving at respective

uplink and downlink frequencies on the same antenna or antennae and configured to convert

communication signals to data, including voice signals.

       83.     The iPhone XS includes a receiver, e.g. a modem, connected to the antenna. The

receiver includes an encoder/decoder and microphone and earpiece, and is configured to derive

and output power control signal from the transmitting power control signal sent from the cell-site

station. A controller is connected to the receiver and transmitter in the iPhone XS, which controls

the amplitude of the transmission. For example, the following excerpt from Apple’s websites and

teardown showing the front end module components provide non-limiting examples of the

iPhone XS infringing at least claim 1of the ’193 Patent:




                           See https://www.apple.com/iphone-xs/specs/

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 See http://www.techinsights.com/about-techinsights/overview/blog/apple-iphone-xs-teardown/

          84.   The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

infringement by satisfying every element of at least claim 1 of the ’193 Patent, under 35 U.S.C. §

271(a).

          85.   On information and belief, Apple further infringes the ’193 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’193 Accused Products”). The ’193 Accused

Products include, each of the Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS

Max (model no. A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and

A1901), iPhone 8 Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and

A1905), iPhone 7 Plus (model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and

A1778), iPhone 6s Plus (model nos. A1634 and A1687), iPhone 6s (model nos. A1633


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andA1688), iPhone 6 Plus (model nos. A1522 and A1524), iPhone 6 (model nos. A1549 and

A1586), iPhone SE (model nos. A1723 and A1662), iPhone 5s (model nos. A1453 and A1533),

and iPhone 5c (model nos. A1456 and A1532)) and Apple iPads with cellular functionality (e.g.,

iPad Air (model no. A1475), iPad mini 2 (model no. 1490), iPad Air 2 (model no. A1567), iPad

mini 3 (model no. A1600), iPad mini 4 (model no. A1550), iPad Pro (10.5”) (model no. A1709),

iPad Pro (12.9”) (model no. A1652), iPad Pro (9.7”) (model nos. A1674 and A1675), iPad Pro

(11”) (model no. A2013), iPad (5th generation) (model no. A1823), iPad (6th generation) (model

no. A1954), iPad Pro (12.9” 2nd generation) (model no. A1671), and iPad Pro (12.9” 3rd

generation) (model nos. A2014 and A1895)). For example, each of these products also include

all necessary hardware and operating systems and work as described above with respect to the

iPhone XS as advertised on Apple’s website. Maxell reserves the right to discover and pursue

any additional infringing devices that incorporate infringing functionalities. For the avoidance of

doubt, the ’193 Accused Products are identified to describe Apple’s infringement and in no way

limit the discovery and infringement allegations against Apple concerning other devices that

incorporate the same or reasonably similar functionalities.

       86.     Apple has indirectly infringed at least claim 1 of the ’193 Patent in this District

and elsewhere in the United States by, among other things, actively inducing the use, offering for

sale, selling, or importation of at least the ’193 Accused Products. Apple’s customers who

purchase devices and components thereof and operate such devices and components in

accordance with Apple’s instructions directly infringe one or more claims of the ’193 Patent in

violation of 35 U.S.C. § 271. Apple instructs its customers through at least user guides or

websites,    such   as   those    located    at:        https://support.apple.com/en_US/manuals   or




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https://www.apple.com/iphone-xs/specs/. Apple is thereby liable for infringement of the ’193

Patent pursuant to 35 U.S.C. § 271(b).

       87.     Apple has indirectly infringed at least claim 1 of the ’193 Patent, by, among other

things, contributing to the direct infringement of others, including customers of the ’193 Accused

Products by making, offering to sell, or selling, in the United States, or importing a component of

a patented machine, manufacture, or combination, or an apparatus for use in practicing a

patented process, constituting a material part of the invention, knowing the same to be especially

made or especially adapted for use in infringement of the ’193 Patent, and not a staple article or

commodity of commerce suitable for substantial non-infringing use.

       88.     For example, the ’193 Accused Products include a duplexer to allow full duplex

operation while sending and receiving at respective uplink and downlink frequencies on the same

antenna or antennae. Further, the ’193 Accused Products include amplifiers and one or more

processors for adjusting the transmission bias. These are components of a patented machine,

manufacture, or combination, or an apparatus for use in practicing a patented process.

Furthermore, such components are a material part of the invention and upon information and

belief are not a staple article or commodity of commerce suitable for substantial non-infringing

use. Thus, Apple is liable for infringement of the ’193 Patent pursuant to 35 U.S.C. § 271(c).

       89.     Apple has been on notice of the ’193 Patent since, at least, May 17, 2018. By the

time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claim 1

of the ’193 Patent.

       90.     Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’193 Patent, which has been duly issued by the



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USPTO, and is presumed valid. For example, since, at least May 17, 2018, Apple has been aware

of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’193 Patent, and that the ’193 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’193 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’193 Patent.

        91.    Maxell has been damaged by Apple’s infringement of the ’193 Patent.

              COUNT 6 - INFRINGEMENT OF U.S. PATENT NO. 10,084,991

        92.    Maxell incorporates paragraphs 1-91 above by reference.

        93.    U.S. Patent No. 10,084,991 (the “’991 Patent,” attached hereto at Exhibit 6) duly

issued on September 25, 2018 and is entitled Communication apparatus and method for

receiving an inbound videophone call notice while displaying digital information on the display.

        94.    Maxell is the owner by assignment of the ’991 Patent and possesses all rights

under the ’991 Patent, including the exclusive right to recover for past and future infringement.

        95.    Apple has directly infringed one or more claims of the ’991 Patent in this District

and elsewhere in Texas, including at least claims 1-3 and 8-10 literally and/or under the doctrine

of equivalents, by or through making, using, importing, offering for sale and/or selling its

telecommunications technology, including by way of example a product known as the iPhone

XS.

        96.    The iPhone XS is a communication apparatus for transmitting and receiving

digital information to and from another device. Further, the iPhone XS includes a network



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interface (e.g., Wi-Fi chipset or cellular chipset) to receive digital information from a server

(e.g., content from iCloud or iTunes) and additional information from another device. Further,

the iPhone XS includes a camera to generate video information and a display to display the video

information and the information received from the server and the other device. Further, the

iPhone XS includes a processor (e.g., A12 processor chipset or cellular chipset) that receives an

inbound videophone call notice (e.g., FaceTime call) while displaying the digital information on

the display, the processor pauses the displaying of the first digital information and renders the

camera operative. Further, the iPhone XS stops display of information being received from the

server to display video from the other communication device generated based on the videophone

call. For example, the following excerpts from Apple’s websites provide non-limiting examples

of the iPhone XS infringing at least claims 1-3 and 8-10 of the ’991 Patent:




                           https://support.apple.com/en-us/HT204380

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                         See https://support.apple.com/en-us/HT203375#stream

       97.     The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

infringement by satisfying every element of at least claims 1-3 and 8-10 of the ’991 Patent, under

35 U.S.C. § 271(a).

       98.     On information and belief, Apple further infringes the ’991 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’991 Accused Products”). The ’991 Accused

Products include, each of the Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS

Max (model no. A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and

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A1901), iPhone 8 Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and

A1905), iPhone 7 Plus (model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and

A1778), iPhone 6s Plus (model nos. A1634 and A1687), iPhone 6s (model nos. A1633

andA1688), iPhone 6 Plus (model nos. A1522 and A1524), iPhone 6 (model nos. A1549 and

A1586), iPhone SE (model nos. A1723 and A1662), iPhone 5s (model nos. A1453 and A1533),

and iPhone 5c (model nos. A1456 and A1532)); Apple iPads (e.g., iPad Air (model nos. A1474

and A1475), iPad mini 2 (model nos. A1489 and A1490), iPad Air 2 (model nos. A1566 and

A1567), iPad mini 3 (model nos. A1599 and A1600), iPad mini 4 (model nos. A1538 and

A1550), iPad Pro (10.5”) (model nos. A1701 and A1709), iPad Pro (12.9”) (model nos. A1584

and A1652), iPad Pro (9.7”) (model nos. A1673, A1674, and A1675), iPad Pro (11”) (model nos.

A1980 and A2013), iPad (5th generation) (model nos. A1822 and A1823), iPad (6th generation)

(model nos. A1893 and A1954), iPad Pro (12.9” 2nd generation) (model nos. A1670 and

A1671), and iPad Pro (12.9” 3rd generation) (model nos. A1876, A2014, and A1895)); Apple

iPod Touches (e.g., iPod Touch 5th generation (model nos. A1509 and A1421) and iPod Touch

6th generation (model no. A1574); and MacBook products with FaceTime functionality (e.g.,

MacBook (model nos. 8,1; 9,1; and 10,1), MacBook Air (model nos. 6,1; 6,2; 7,1; 7,2; and 8,1),

and MacBook Pro (model nos. 10,1; 10,2; 11,1; 11,2; 11,3; 11,4; 11,5; 12,1; 13,1; 13,2; 13,3;

14,1; 14,2; 15,1; and 15,3)). For example, each of these products also include hardware (Wi-Fi

chipset, cellular chipset, A12 processor, camera) and software (FaceTime application) as

advertised on Apple’s website. Maxell reserves the right to discover and pursue any additional

infringing devices that incorporate infringing functionalities. For the avoidance of doubt, the

’991 Accused Products are identified to describe Apple’s infringement and in no way limit the




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discovery and infringement allegations against Apple concerning other devices that incorporate

the same or reasonably similar functionalities.

       99.      Apple has indirectly infringed at least claims 1-3 and 8-10 of the ’991 Patent in

this District and elsewhere in the United States by, among other things, actively inducing the use,

offering for sale, selling, or importation of at least the ’991 Accused Products. Apple’s customers

who purchase devices and components thereof and operate such devices and components in

accordance with Apple’s instructions directly infringe one or more claims of the ’991 Patent in

violation of 35 U.S.C. § 271. Apple instructs its customers through at least user guides or

websites,     such   as   those    located   at:        https://support.apple.com/en_US/manuals   or

https://support.apple.com/en-us/HT204380                    or          https://support.apple.com/en-

us/HT203375#stream. Apple is thereby liable for infringement of the ’991 Patent pursuant to 35

U.S.C. § 271(b).

       100.     Apple has indirectly infringed at least claims 1-3 and 8-10 of the ’991 Patent, by,

among other things, contributing to the direct infringement of others, including customers of the

’991 Accused Products by making, offering to sell, or selling, in the United States, or importing a

component of a patented machine, manufacture, or combination, or an apparatus for use in

practicing a patented process, constituting a material part of the invention, knowing the same to

be especially made or especially adapted for use in infringement of the ’991 Patent, and not a

staple article or commodity of commerce suitable for substantial non-infringing use.

       101.     For example, the ’991 Accused Products include hardware (Wi-Fi chipset, cellular

chipset, A12 processor, camera) and software (FaceTime application). These are components of

a patented machine, manufacture, or combination, or an apparatus for use in practicing a

patented process. Furthermore, such components are a material part of the invention and upon



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information and belief are not a staple article or commodity of commerce suitable for substantial

non-infringing use. Thus, Apple is liable for infringement of the ’991 Patent pursuant to 35

U.S.C. § 271(c).

       102.    Apple has been on notice of the ’991 Patent since, at least, October 9, 2018. By

the time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

1-3 and 8-10 of the ’991 Patent.

       103.    Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’991 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least October 9, 2018, Apple has been

aware of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’991 Patent, and that the ’991 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’991 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’991 Patent.

       104.    Maxell has been damaged by Apple’s infringement of the ’991 Patent.

                   COUNT 7 - INFRINGEMENT OF U.S. PATENT NO. 6,928,306

       105.    Maxell incorporates paragraphs 1-104 above by reference.

       106.    U.S. Patent No. 6,928,306 (the “’306 Patent,” attached hereto at Exhibit 7) duly

issued on August 9, 2005 and is entitled Portable mobile unit.




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        107.   Maxell is the owner by assignment of the ’306 Patent and possesses all rights

under the ’306 Patent, including the exclusive right to recover for past and future infringement.

        108.   Apple has directly infringed one or more claims of the ’306 Patent in this District

and elsewhere in Texas, including at least claims 2, 5-6, and 13-15 literally and/or under the

doctrine of equivalents, by or through making, using, importing, offering for sale and/or selling

its telecommunications technology, including by way of example a product known as the iPhone

XS.

        109.   The iPhone XS is a portable mobile unit capable of alerting on incoming of a

signal by a ringing sound (e.g., alert for incoming call). Further, the iPhone XS includes a

ringing sound generator having a plurality of sound sources (e.g., a speaker and/or processor

generating a ringtone and or announcing caller via Siri). Further, the iPhone XS includes a

controller (e.g., A12 chip) for controlling operations to generate the ringing sound using at least

two of said sound sources when the signal comes in. Further, the iPhone XS includes a real time

clock and/or timer to control the ringing sound based on a particular preset time (e.g., “Do Not

Disturb mode”). For example, the following excerpts and screenshots provide non-limiting

examples of the iPhone XS infringing at least claims 2, 5-6, and 13-15 of the ’306 Patent:




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                   See https://support.apple.com/en-us/HT204321




                          See “Settings” in the iPhone XS

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       110.   The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

infringement by satisfying every element of at least claims 2, 5-6, and 13-15 of the ’306 Patent,

under 35 U.S.C. § 271(a).

       111.   On information and belief, Apple further infringes the ’306 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’306 Accused Products”). The ’306 Accused

Products include, for example, Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS

Max (model no. A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and

A1901), iPhone 8 Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and

A1905), iPhone 7 Plus (model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and

A1778), iPhone 6s Plus (model nos. A1634 and A1687), iPhone 6s (model nos. A1633

andA1688), iPhone 6 Plus (model nos. A1522 and A1524), iPhone 6 (model nos. A1549 and

A1586), iPhone SE (model nos. A1723 and A1662), iPhone 5s (model nos. A1453 and A1533),

and iPhone 5c (model nos. A1456 and A1532)); Apple iPads (e.g., iPad Air (model nos. A1474

and A1475), iPad mini 2 (model nos. A1489 and A1490), iPad Air 2 (model nos. A1566 and

A1567), iPad mini 3 (model nos. A1599 and A1600), iPad mini 4 (model nos. A1538 and

A1550), iPad Pro (10.5”) (model nos. A1701 and A1709), iPad Pro (12.9”) (model nos. A1584

and A1652), iPad Pro (9.7”) (model nos. A1673, A1674, and A1675), iPad Pro (11”) (model nos.

A1980 and A2013), iPad (5th generation) (model nos. A1822 and A1823), iPad (6th generation)

(model nos. A1893 and A1954), iPad Pro (12.9” 2nd generation) (model nos. A1670 and

A1671), and iPad Pro (12.9” 3rd generation) (model nos. A1876, A2014, and A1895)); and Apple

iPod Touches (e.g., iPod Touch 5th generation (model nos. A1509 and A1421) and iPod Touch



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6th generation (model no. A1574)). For example, each of these products also include hardware

and/or software to implement Siri, generate alerts, and/or implement “Do Not Disturb” mode as

advertised    on   Apple’s    website.    See     https://support.apple.com/en-us/HT204321     and

https://www.apple.com/siri/. Maxell reserves the right to discover and pursue any additional

infringing devices that incorporate infringing functionalities. For the avoidance of doubt, the

’306 Accused Products are identified to describe Apple’s infringement and in no way limit the

discovery and infringement allegations against Apple concerning other devices that incorporate

the same or reasonably similar functionalities.

       112.    Apple has indirectly infringed at least claims 2, 5-6, and 13-15 of the ’306 Patent

in this District and elsewhere in the United States by, among other things, actively inducing the

use, offering for sale, selling, or importation of at least the ’306 Accused Products. Apple’s

customers who purchase devices and components thereof and operate such devices and

components in accordance with Apple’s instructions directly infringe one or more claims of the

’306 Patent in violation of 35 U.S.C. § 271. Apple instructs its customers through at least user

guides or websites, such as those located at: https://support.apple.com/en_US/manuals or

https://support.apple.com/en-us/HT204321 or https://www.apple.com/siri/. Apple is thereby

liable for infringement of the ’306 Patent pursuant to 35 U.S.C. § 271(b).

       113.    Apple has indirectly infringed at least claims 2, 5-6, and 13-15 of the ’306 Patent,

by, among other things, contributing to the direct infringement of others, including customers of

the ’306 Accused Products by making, offering to sell, or selling, in the United States, or

importing a component of a patented machine, manufacture, or combination, or an apparatus for

use in practicing a patented process, constituting a material part of the invention, knowing the




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same to be especially made or especially adapted for use in infringement of the ’306 Patent, and

not a staple article or commodity of commerce suitable for substantial non-infringing use.

       114.    For example, the ’306 Accused Products include a speaker, processor, and/or

software to implement Siri announce caller and “Do Not Disturb” modes. These are components

of a patented machine, manufacture, or combination, or an apparatus for use in practicing a

patented process. Furthermore, such components are a material part of the invention and upon

information and belief are not a staple article or commodity of commerce suitable for substantial

non-infringing use. Thus, Apple is liable for infringement of the ’306 Patent pursuant to 35

U.S.C. § 271(c).

       115.    Apple has been on notice of the ’306 Patent since, at least, May 17, 2018. By the

time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

2, 5-6, and 13-15 of the ’306 Patent.

       116.    Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’306 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least May 17, 2018, Apple has been aware

of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’306 Patent, and that the ’306 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’306 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’306 Patent.



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       117.    Maxell has been damaged by Apple’s infringement of the ’306 Patent.

               COUNT 8 - INFRINGEMENT OF U.S. PATENT NO. 6,329,794

       118.    Maxell incorporates paragraphs 1-117 above by reference.

       119.    U.S. Patent No. 6,329,794 (the “’794 Patent,” attached hereto at Exhibit 8) duly

issued on December 11, 2001 and is entitled Information processing device and method for

controlling power consumption thereof.

       120.    Maxell is the owner by assignment of the ’794 Patent and possesses all rights

under the ’794 Patent, including the exclusive right to recover for past and future infringement.

       121.    At the time of the invention of the ’794 Patent, conventional devices had limited

power management techniques available. ’794 Patent, 1:5-45. To conserve power, they either

reduced power consumption of all devices as much as possible or restricted power to function

devices that were not being used. Id. at 1:12-22. The ’794 Patent provided a new power

management solution and taught assigning different priorities to independent function devices of

an information processing device and controlling the supply of power to those function devices

based on their priority and the remaining battery capacity. Id. at 1:49-67. The ’794 Patent

disclosed powering down lower-priority function devices (such as, in one embodiment, a

videophone function) before other, higher-priority function devices (such as, in one embodiment,

audio communication). Id. at 4:36-62. This priority-based power management provided a

mechanism for users to continue using desired functions longer by reducing power to less

important functions at an earlier stage of battery depletion. Id. at 1:55-67.

       122.    As a part of its solution, the ’794 Patent teaches at least the use of a battery

capacity detector and a controller able to send independent power consumption reduction

instructions to low-priority function devices structured to receive these instructions when the



                                                 46
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battery decreases below certain thresholds. Id. at 1:55-67. The ’794 Patent provided a practical

and desirable concrete way of prioritizing certain function devices within the information

processing device by correlating their priority of usage to various thresholds of remaining battery

capacity. When the battery capacity decreased past a given threshold, the function devices

assigned to that priority group would receive power reduction instructions. The ’794 Patent is

directed to a specific improvement of the power management capabilities of an information

processing device and ties this improvement to the additional inventive concept of tying specific

threshold battery levels to power reduction instructions that are sent to prioritized function

devices.

       123.    The ’794 Patent is directed to power management within the computer system

itself, and specifically teaches assigning different priorities to the function devices of an

information processing device depending specifically on remaining battery levels. The ’794

Patent teaches and claims assigning at least two priority rankings to function devices within the

computer, correlating each priority ranking to a threshold remaining battery level, and sending

power consumption reduction instructions to all function devices based on a priority rank when

the battery level decreases below the correlated threshold. ’794 Patent at claim 1. The invention

of the ’794 Patent allows a device to operate in a more efficient manner and improves the

computer system itself, rather than using a conventional computer system as a conduit to

accomplish its objectives.

       124.    Further, the patentability of the ’794 Patent was challenged in IPR2018-00241,

wherein the Patent Trial and Appeal Board was asked to consider the teachings of prior art (e.g.,

U.S. Patent Nos. 6,031,999, 5,560,022, 6,345,180, 6,360,327, and Advanced Configuration and

Power Interface Specification) in a challenge to the validity of claims 1-3 and 5-14. In response,



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the Patent Trial and Appeal Board denied the petition, finding that the information presented

does not “demonstrate a reasonable likelihood that Petitioner would prevail in showing that at

least one of the challenged claims of the ’794 Patent is unpatentable.”

        125.   Apple has directly infringed one or more claims of the ’794 Patent in this District

and elsewhere in Texas, including at least claims 1-3 and 9-11 literally and/or under the doctrine

of equivalents, by or through making, using, importing, offering for sale and/or selling its

telecommunications technology, including by way of example a product known as the iPhone

XS.

        126.   The iPhone XS is an information processing device that incorporates multiple

component devices performing different functions, with each component having a corresponding

power supplied by a battery. For example, the iPhone XS includes a display with a display power

supply. The iPhone XS incorporates a processor or co-processor programmed with software, in

combination with the electronic components of the iPhone XS, to monitor the battery capacity of

the battery as components of the device consume the power supplied from the battery. Under an

operating condition when the battery is at a first reference level, a processor or co-processor of

the iPhone XS is programmed to optimize power consumption, including shutting off or reducing

the power consumption of components or applications that have a lower usage priority as

predefined by the software or selected by the user, where different components are shut down

based on one or more defined battery capacity levels and usage priority. For example, the

following excerpts provide non-limiting examples of the iPhone XS infringing at least claims 1-3

and 9-11 of the ’794 Patent:




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                         See https://support.apple.com/en-us/HT205234




                             See https://support.apple.com/en-us/HT201264

       127.    The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

infringement by satisfying every element of at least claims 1-3 and 9-11 of the ’794 Patent, under

35 U.S.C. § 271(a).




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       128.   On information and belief, Apple further infringes the ’794 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’794 Accused Products”). The ’794 Accused

Products include, by way of examples, the Apple iPhones (e.g., iPhone XS (model no. A1920),

iPhone XS Max (model no. A1921), iPhone XR (model no. A1984), iPhone X (model nos.

A1865 and A1901), iPhone 8 Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863

and A1905), iPhone 7 Plus (model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and

A1778), iPhone 6s Plus (model nos. A1634 andA1687), iPhone 6s (model nos. A1633 and

A1688), iPhone 6 Plus (model nos. A1522 and A1524), iPhone 6 (model nos. A1549 and

A1586), iPhone SE (model nos. A1723 and A1662), iPhone 5s (model nos. A1453 and A1533),

and iPhone 5c (model nos. A1456 and A1532)); Apple iPads (e.g., iPad Air (model nos. A1474

and A1475), iPad mini 2 (model nos. A1489 and A1490), iPad Air 2 (model nos. A1566 and

A1567), iPad mini 3 (model nos. A1599 and A1600), iPad mini 4 (model nos. A1538 and

A1550), iPad Pro (10.5”) (model nos. A1701 and A1709), iPad Pro (12.9”) (model nos. A1584

and A1652), iPad Pro (9.7”) (model nos. A1673, A1674, and A1675), iPad Pro (11”) (model nos.

A1980 and A2013), iPad (5th generation) (model nos. A1822 and A1823), iPad (6th generation)

(model nos. A1893 and A1954), iPad Pro (12.9” 2nd generation) (model nos. A1670 and

A1671), and iPad Pro (12.9” 3rd generation) (model nos. A1876, A2014, and A1895)); Apple

iPod Touches (e.g., iPod Touch 5th generation (model nos. A1509 and A1421) and iPod Touch

6th generation (model no. A1574)); and Apple watches (e.g., Series 4 (model nos. A1975, A1976,

A1977, and A1978), Series 3 (model nos. A1860, A1861, A1858, and A1859), Series 2 (model

nos. A1757, A1758, A1816, and A1817), Series 1 (model nos. A1802 and A1803), and 1st

Generation (model nos. A1553 and A1554)). For example, each of these products also include an



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Axx series chip and battery for managing/prioritizing power usage and implementing a low

power mode as advertised on Apple’s website.                  See e.g., https://support.apple.com/en-

us/HT205234      or https://support.apple.com/en-us/HT201264.          Maxell reserves the right to

discover and pursue any additional infringing devices that incorporate infringing functionalities.

For the avoidance of doubt, the ’794 Accused Products are identified to describe Apple’s

infringement and in no way limit the discovery and infringement allegations against Apple

concerning other devices that incorporate the same or reasonably similar functionalities.

       129.     Apple has indirectly infringed at least claims 1-3 and 9-11 of the ’794 Patent in

this District and elsewhere in the United States by, among other things, actively inducing the use,

offering for sale, selling, or importation of at least the ’794 Accused Products. Apple’s customers

who purchase devices and components thereof and operate such devices and components in

accordance with Apple’s instructions directly infringe one or more claims of the ’794 Patent in

violation of 35 U.S.C. § 271. Apple instructs its customers through at least user guides or

websites,     such   as   those    located   at:        https://support.apple.com/en_US/manuals    or

https://support.apple.com/en-us/HT205234 or https://support.apple.com/en-us/HT201264. Apple

is thereby liable for infringement of the ’794 Patent pursuant to 35 U.S.C. § 271(b).

       130.     Apple has indirectly infringed at least claims 1-3 and 9-11 of the ’794 Patent, by,

among other things, contributing to the direct infringement of others, including customers of the

’794 Accused Products by making, offering to sell, or selling, in the United States, or importing a

component of a patented machine, manufacture, or combination, or an apparatus for use in

practicing a patented process, constituting a material part of the invention, knowing the same to

be especially made or especially adapted for use in infringement of the ’794 Patent, and not a

staple article or commodity of commerce suitable for substantial non-infringing use.



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       131.    For example, the ’794 Accused Products include a battery and processor for

managing battery usage. These are components of a patented machine, manufacture, or

combination, or an apparatus for use in practicing a patented process. Furthermore, such

components are a material part of the invention and upon information and belief are not a staple

article or commodity of commerce suitable for substantial non-infringing use. Thus, Apple is

liable for infringement of the ’794 Patent pursuant to 35 U.S.C. § 271(c).

       132.    Apple has been on notice of the ’794 Patent since, at least, May 17, 2018. By the

time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

1-3 and 9-11 of the ’794 Patent.

       133.    Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’794 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least May 17, 2018, Apple has been aware

of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’794 Patent, and that the ’794 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’794 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’794 Patent.

       134.    Maxell has been damaged by Apple’s infringement of the ’794 Patent.

              COUNT 9 - INFRINGEMENT OF U.S. PATENT NO. 10,212,586

       135.    Maxell incorporates paragraphs 1-134 above by reference.



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        136.   U.S. Patent No. 10,212,586 (the “’586 Patent,” attached hereto at Exhibit 9) duly

issued on February 19, 2019 and is entitled Mobile terminal and control method thereof.

        137.   Maxell is the owner by assignment of the ’586 Patent and possesses all rights

under the ’586 Patent, including the exclusive right to recover for past and future infringement.

        138.   Apple has directly infringed one or more claims of the ’586 Patent in this District

and elsewhere in Texas, including at least claims 1, 7, 9, 14, 16, and 19 literally and/or under the

doctrine of equivalents, by or through making, using, importing, offering for sale and/or selling

its telecommunications technology, including by way of example a product known as the iPhone

XS.

        139.   The iPhone XS is a mobile terminal configured to switch between an unlocked

state and a locked state. Further, the iPhone XS includes a transceiver which performs short-

range wireless communication (e.g., Bluetooth, NFC, and/or Wi-Fi). The iPhone XS also

includes a memory which previously stores information about another mobile terminal (e.g.,

Apple Watch). The iPhone XS also includes a controller (e.g., Axx chipset) which switches the

mobile terminal between an unlocked state and a locked state based on an authentication input

(e.g., password) to the mobile terminal. Further, the iPhone XS transmits information to the

another mobile terminal (e.g., Apple Watch) for switching a state of the another mobile terminal

from a locked state to an unlocked state when certain conditions are met including that the

mobile terminal is in a locked state, the another mobile terminal is in a locked state, and the

another mobile terminal is within communication range of the short-range wireless

communications of the transceiver. For example, the following excerpts provide non-limiting

examples of the iPhone XS infringing at least claims 1, 7, 9, 14, 16, and 19 of the ’586 Patent:




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See https://support.apple.com/guide/watch/unlock-apple-watch-apd0e1e73b6f/watchos




                        See https://support.apple.com/en-us/HT205009

       140.   The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct

infringement by satisfying every element of at least claims 1, 7, 9, 14, 16, and 19 of the ’586

Patent, under 35 U.S.C. § 271(a).

       141.   On information and belief, Apple further infringes the ’586 Patent through

additional products utilizing the same or reasonably similar functionalities as described above


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with respect to the iPhone XS (collectively, “the ’586 Accused Products”). The ’586 Accused

Products include each of the Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS

Max (model no. A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and

A1901), iPhone 8 Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and

A1905), iPhone 7 Plus (model nos. A1661 and A1784), and iPhone 7 (model nos. A1660 and

A1778)). For example, each of these products also include a transceiver for short distance

transmission and an Apple Watch application to pair with and unlock an Apple Watch as

advertised     on      Apple’s    website.    See        https://support.apple.com/en-us/HT205009   or

https://support.apple.com/guide/watch/unlock-apple-watch-apd0e1e73b6f/watchos.                  Maxell

reserves the right to discover and pursue any additional infringing devices that incorporate

infringing functionalities. For the avoidance of doubt, the ’586 Accused Products are identified

to describe Apple’s infringement and in no way limit the discovery and infringement allegations

against Apple concerning other devices that incorporate the same or reasonably similar

functionalities.

        142.       Apple has indirectly infringed at least claims 1, 7, 9, 14, 16, and 19 of the ’586

Patent in this District and elsewhere in the United States by, among other things, actively

inducing the use, offering for sale, selling, or importation of at least the ’586 Accused Products.

Apple’s customers who purchase devices and components thereof and operate such devices and

components in accordance with Apple’s instructions directly infringe one or more claims of the

’586 Patent in violation of 35 U.S.C. § 271. Apple instructs its customers through at least user

guides or websites, such as those located at: https://support.apple.com/en_US/manuals or

https://support.apple.com/en-us/HT205009            or    https://support.apple.com/guide/watch/unlock-




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apple-watch-apd0e1e73b6f/watchos. Apple is thereby liable for infringement of the ’586 Patent

pursuant to 35 U.S.C. § 271 (b).

         143.   Apple has indirectly infringed at least claims 1, 7, 9, 14, 16, and 19 of the ’586

Patent, by, among other things, contributing to the direct infringement of others, including

customers of the ’586 Accused Products by making, offering to sell, or selling, in the United

States, or importing a component of a patented machine, manufacture, or combination, or an

apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in infringement of the ’586

Patent, and not a staple article or commodity of commerce suitable for substantial non-infringing

use.

         144.   For example, the ’586 Accused Products include a transceiver and/or Apple

Watch application. These are components of a patented machine, manufacture, or combination,

or an apparatus for use in practicing a patented process. Furthermore, such components are a

material part of the invention and upon information and belief are not a staple article or

commodity of commerce suitable for substantial non-infringing use. Thus, Apple is liable for

infringement of the ’586 Patent pursuant to 35 U.S.C. § 271(c).

         145.   Apple has been on notice of the ’586 Patent since, at least, October 9, 2018. By

the time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

1, 7, 9, 14, 16, and 19 of the ’586 Patent.

         146.   Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’586 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least October 9, 2018, Apple has been



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aware of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’586 Patent, and that the ’586 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’586 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’586 Patent.

       147.    Maxell has been damaged by Apple’s infringement of the ’586 Patent.

               COUNT 10 - INFRINGEMENT OF U.S. PATENT NO. 6,430,498

       148.    Maxell incorporates paragraphs 1-147 above by reference.

       149.    U.S. Patent No. 6,430,498 (the “’498 Patent,” attached hereto at Exhibit 10) duly

issued on August 6, 2002 and is entitled Portable terminal with the function of walking

navigation.

       150.    Maxell is the owner by assignment of the ’498 Patent and possesses all rights

under the ’498 Patent, including the exclusive right to recover for past and future infringement.

       151.    The ’498 Patent is the parent of the ’317 Patent and the ’999 Patent, and like

claims of the ’317 Patent and ’999 Patent, claims of the ’498 Patent are also directed to a specific

novel and non-obvious portable terminal that includes specific functionality of providing

guidance for walking navigation and further receives location information from a “partner’s

portable terminal” (’498 Patent, 12:6-8), thus specifically claiming a portable terminal that can

receive a location from another portable terminal and providing in real-time route guidance

information to a pedestrian so that the pedestrian can walk to the location of the other portable

terminal after receiving the location.



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        152.   Further, the patentability of the ’498 Patent was challenged in IPR2019-00071,

wherein the Patent Trial and Appeal Board was asked to consider the teachings of prior art (e.g.,

U.S. Patent Nos. 6,031,999, 5,560,022, 6,345,180, 6,360,327, and Advanced Configuration and

Power Interface Specification) in a challenge to the validity of claims 1-13. In response, the

Patent Trial and Appeal Board denied the petition, finding that “the Petitioner has not established

a reasonable likelihood of prevailing against any claim challenged in the Petition.”

        153.   Apple has directly infringed one or more claims of the ’498 Patent in this District

and elsewhere in Texas, including at least claims 1, 3, 4, 10, and 13 literally and/or under the

doctrine of equivalents, by or through making, using, importing, offering for sale and/or selling

its telecommunications technology, including by way of example a product known as the iPhone

XS.

        154.   The iPhone XS includes a screen for displaying information, at least a GPS

chipset/cellular chipset/Wi-Fi chipset/iBeacon/compass/gyroscope for providing location and/or

orientation information, “Maps” and “Find My Friends” software that allows users to access

location information including the present location of the device and orientation of the device

and use such information to provide walking navigation information and/or share location

including providing a direction and distance of a destination from a present place by using a line

that is distinguished from a starting point and an ending point of the route. The iPhone XS

further uses location servers to provide walking navigation information, route information,

and/or to provide its position to additional devices in order to allow users to walk to a location of

a partner. For example, the following excerpts from Apple’s websites provide non-limiting

examples of the iPhone XS infringing at least claims 1, 3, 4, 10, and 13 of the ’498 Patent:




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                        See https://support.apple.com/en-us/HT201493




                             See https://www.apple.com/ios/maps/

       155.   The foregoing features and capabilities of the iPhone XS, and Apple’s description

and/or demonstration thereof, including in user manuals and advertising, reflect Apple’s direct


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infringement by satisfying every element of at least claims 1, 3, 4, 10, and 13 of the ’498 Patent,

under 35 U.S.C. § 271(a).

       156.    On information and belief, Apple further infringes the ’498 Patent through

additional products utilizing the same or reasonably similar functionalities as described above

with respect to the iPhone XS (collectively, “the ’498 Accused Products”). The ’498 Accused

Products include all iOS devices including “Maps” and/or “Find My Friends” applications, for

example, Apple iPhones (e.g., iPhone XS (model no. A1920), iPhone XS Max (model no.

A1921), iPhone XR (model no. A1984), iPhone X (model nos. A1865 and A1901), iPhone 8

Plus (model nos. A1864 and A1897), iPhone 8 (model nos. A1863 and A1905), iPhone 7 Plus

(model nos. A1661 and A1784), iPhone 7 (model nos. A1660 and A1778), iPhone 6s Plus

(model nos. A1634 and A1687), iPhone 6s (model nos. A1633 andA1688), iPhone 6 Plus (model

nos. A1522 and A1524), iPhone 6 (model nos. A1549 and A1586), iPhone SE (model nos.

A1723 and A1662), iPhone 5s (model nos. A1453 and A1533), and iPhone 5c (model nos.

A1456 and A1532)) and Apple iPads with cellular functionality and/or Apple iPads with Wi-Fi

and Indoor Maps (e.g., iPad Air (model nos. A1474 and A1475), iPad mini 2 (model nos. A1489

and A1490), iPad Air 2 (model nos. A1566 and A1567), iPad mini 3 (model nos. A1599 and

A1600), iPad mini 4 (model nos. A1538 and A1550), iPad Pro (10.5”) (model nos. A1701 and

A1709), iPad Pro (12.9”) (model nos. A1584 and A1652), iPad Pro (9.7”) (model nos. A1673,

A1674, and A1675), iPad Pro (11”) (model nos. A1980 and A2013), iPad (5th generation) (model

nos. A1822 and A1823), iPad (6th generation) (model nos. A1893 and A1954), iPad Pro (12.9”

2nd generation) (model nos. A1670 and A1671), and iPad Pro (12.9” 3rd generation) (model nos.

A1876, A2014, and A1895)). For example, each of these products also include a “Maps”

application, a “Find My Friends” application, and/or “Location” services as advertised on



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Apple’s website. Maxell reserves the right to discover and pursue any additional infringing

devices that incorporate infringing functionalities. For the avoidance of doubt, the ’498 Accused

Products are identified to describe Apple’s infringement and in no way limit the discovery and

infringement allegations against Apple concerning other devices that incorporate the same or

reasonably similar functionalities.

         157.   Apple has indirectly infringed at least claims 1, 3, 4, 10, and 13 of the ’498 Patent

in this District and elsewhere in the United States by, among other things, actively inducing the

use, offering for sale, selling, or importation of at least the ’498 Accused Products. Apple’s

customers who purchase devices and components thereof and operate such devices and

components in accordance with Apple’s instructions directly infringe one or more claims of the

’498 Patent in violation of 35 U.S.C. § 271. Apple instructs its customers through at least user

guides or websites, such as those located at: https://support.apple.com/en_US/manuals or

https://www.apple.com/ios/maps/       or   https://support.apple.com/en-us/HT201493.      Apple    is

thereby liable for infringement of the ’498 Patent pursuant to 35 U.S.C. § 271(b).

         158.   Apple has indirectly infringed at least claims 1, 3, 4, 10, and 13 of the ’498

Patent, by, among other things, contributing to the direct infringement of others, including

customers of the ’498 Accused Products by making, offering to sell, or selling, in the United

States, or importing a component of a patented machine, manufacture, or combination, or an

apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in infringement of the ’498

Patent, and not a staple article or commodity of commerce suitable for substantial non-infringing

use.




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       159.    For example, the ’498 Accused Products include hardware (e.g., GPS chip,

cellular chip, Wi-Fi chip, gyroscope, compass, A12 processor) and/or software (e.g., “Maps” or

“Find My Friends”). These are components of a patented machine, manufacture, or combination,

or an apparatus for use in practicing a patented process. Furthermore, such components are a

material part of the invention and upon information and belief are not a staple article or

commodity of commerce suitable for substantial non-infringing use. Thus, Apple is liable for

infringement of the ’498 Patent pursuant to 35 U.S.C. § 271(c).

       160.    Apple has been on notice of the ’498 Patent since, at least, June 25, 2013. By the

time of trial, Apple will thus have known and intended (since receiving such notice), that its

continued actions would actively induce and contribute to actual infringement of at least claims

1, 3, 4, 10, and 13 of the ’498 Patent.

       161.    Apple undertook and continued its infringing actions despite an objectively high

likelihood that such activities infringed the ’498 Patent, which has been duly issued by the

USPTO, and is presumed valid. For example, since, at least June 25, 2013, Apple has been aware

of an objectively high likelihood that its actions constituted and continue to constitute

infringement of the ’498 Patent, and that the ’498 Patent is valid. On information and belief,

Apple could not reasonably, subjectively believe that its actions do not constitute infringement of

the ’498 Patent, nor could it reasonably, subjectively believe that the patent is invalid. Despite

that knowledge and subjective belief, and the objectively high likelihood that its actions

constitute infringement, Apple has continued its infringing activities. As such, Apple willfully

infringes the ’498 Patent.

       162.    Maxell has been damaged by Apple’s infringement of the ’498 Patent.

                                     PRAYER FOR RELIEF



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       WHEREFORE, Maxell prays for relief as follows:

       163.    A judgment declaring that Apple has infringed and is infringing one or more

claims of ’317, ’999, ’493, ’438, ’193, ’991, ’306, ’794, ’586, and ’498 Patents;

       164.    A judgment awarding Maxell compensatory damages as a result of Apple’s

infringement of one or more claims of the ’317, ’999, ’493, ’438, ’193, ’991, ’306, ’794, ’586,

and ’498 Patents, together with interest and costs, consistent with lost profits and in no event less

than a reasonable royalty;

       165.    A judgment awarding Maxell treble damages and pre-judgment interest under 35

U.S.C. § 284 as a result of Apple’s willful and deliberate infringement of one or more claims of

the ’317, ’999, ’493, ’438, ’193, ’991, ’306, ’794, ’586, and ’498 Patents;

       166.    A judgment declaring that this case is exceptional and awarding Maxell its

expenses, costs, and attorneys’ fees in accordance with 35 U.S.C. §§ 284 and 285 and Rule 54(d)

of the Federal Rules of Civil Procedure;

       167.    A grant of preliminary and permanent injunctions enjoining Defendant from

further acts of infringement of one or more claims of the ’317, ’999, ’493, ’438, ’193, ’991, ’306,

’794, ’586, and ’498 Patents; and

       168.    Such other and further relief as the Court deems just and proper.

                                    JURY TRIAL DEMANDED

       Maxell hereby demands a trial by jury.



Dated: March 15, 2019                           By: /s/ Geoffrey Culbertson
                                                    Geoff Culbertson
                                                    Kelly Tidwell
                                                    Patton, Tidwell & Culbertson, LLP
                                                    2800 Texas Boulevard (75503)
                                                    Post Office Box 5398


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                                       Texarkana, TX 75505-5398
                                       Telephone: (903) 792-7080
                                       Facsimile: (903) 792-8233
                                       gpc@texarkanalaw.com
                                       kbt@texarkanalaw.com

                                       Jamie B. Beaber
                                       Alan M. Grimaldi
                                       Kfir B. Levy
                                       James A. Fussell, III
                                       Baldine B. Paul
                                       Tiffany A. Miller
                                       Saqib Siddiqui
                                       Bryan C. Nese
                                       Alison T. Gelsleichter
                                       MAYER BROWN LLP
                                       1999 K Street, NW
                                       Washington, DC 20006
                                       Telephone: (202) 263-3000
                                       Facsimile: (202) 263-3300
                                       jbeaber@mayerbrown.com
                                       agrimaldi@mayerbrown.com
                                       klevy@mayerbrown.com
                                       jfussell@mayerbrown.com
                                       bpaul@mayerbrown.com
                                       tmiller@mayerbrown.com
                                       ssiddiqui@mayerbrown.com
                                       bnese@mayerbrown.com
                                       agelsleichter@mayerbrown.com

                                       Robert G. Pluta
                                       Amanda Streff Bonner
                                       MAYER BROWN LLP
                                       71 S. Wacker Drive
                                       Chicago, IL 60606
                                       (312) 782-0600
                                       rpluta@mayerbrown.com
                                       asbonner@mayerbrown.com

                                       Counsel for Plaintiff Maxell, Ltd.




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